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                                          Case No. 23-5257

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                               ORDER

SAMUEL JOHNSON, in his individual capacity; JILL JOHNSON, in her individual capacity

              Plaintiffs - Appellants

v.

KATHY GRIFFIN, in her individual capacity

              Defendant - Appellee



         Upon consideration of TechFreedom’s motion to file an amicus brief,

         And it appearing that all parties have consented to the filing of the amicus brief,

         It is ORDERED that the motion be and it hereby is DENIED as MOOT.



                                                   ENTERED PURSUANT TO RULE 45(a),
                                                   RULES OF THE SIXTH CIRCUIT
                                                   Deborah S. Hunt, Clerk


Issued: June 15, 2023
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